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 8           IN THE UNITED STATES DISTRICT COURT
 9         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11                                                    Case No. ED CV 20-698 MRW
       DEBBIE B.,1
12                                                    JUDGMENT
                            Plaintiff,
13
                  v.
14
       ANDREW SAUL,
15     Commissioner of Social Security,
16                          Defendant.
17
18             It is the judgment of this Court that the decision of the
19    Administrative Law Judge is VACATED, and the matter is REMANDED to
20    the Social Security Administration on an open record for further
21    proceedings consistent with the Court’s Order.
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24
      Date: April 23, 2021                        ___________________________________
25                                                HON. MICHAEL R. WILNER
                                                  U.S. MAGISTRATE JUDGE
26
           1       Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and
27   the recommendation of the Committee on Court Administration and Case Management of the
28   Judicial Conference of the United States.
